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                                        LAW OFFICE OF

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June 5, 2020

Honorable J. Paul Oetken
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

RE:       United States v. Paez Vazquez et. al., 20 Cr. 28 (JPO)


Dear Judge Oetken:

Defense Counsel for Juan Becerra writes on behalf of the government and Mr.
Henry, counsel for Mr. Solano-Monroy. All parties have conferred and request a
60-day adjournment of the status conference currently scheduled for June 18, 2020
at 12:00pm in the above captioned case. The parties make this request due to the
ongoing public health crisis.

Mr. Becerra and Mr. Solano-Monroy consent to the exclusion of time from June
18, 2020 until the date of the next conference so that the parties can continue to
produce and review discovery and discuss potential pre-trial dispositions in this
case, and because of the ongoing public health crisis.
                               Granted. The June 18, 2020 pretrial conference is hereby adjourned to
Respectfully Submitted, August 19, 2020, at 2:00 P.M. Time is excluded through August 19, 2020,
                      under the Speedy Trial Act, 18 U.S.C § 3161(h)(7)(A), the Court finding that
                      the ends of justice outweigh the interests of the public and the defendant
______/S/_______________
Jacob Mitchell        in a speedy trial.
                         So ordered: June 10, 2020
cc: All parties via ECF
